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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN MARIANA ISLANDS

      IN RE THE MATTER OF                                      Case                              “   “



                                                                         1PROPO~’,~V/L1
           CARMELITA GUIAO,                               ORDER GRANTING PETITION FOR
                                                             WRIT OF HABEAS CORPUS
                  a CNMI Department of
                  Corrections inmate.
                                                           Date:       January 23, 2015
     ________________________________________              Time:       08:00 A.M.

1           Before the Court is the United States’ petition for issuance of a writ of habeas corpus

2    (“the Petition”) (ECF 1).

3            This Court finds that the inmate described in the Petition is now in the custody of the

4    CNMI Department of Corrections, and is a potential witness in a federal criminal investigation.

5    The Petition is therefore GRANTED.

6            Accordingly, the Commissioner of the CNMI Department of Corrections, and/or any

7    authorized agent thereof, shall deliver the above-named inmate to a Federal law enforcement

 8    agent by no later than 08:00 A.M. on Friday, January 23, 2015.

 9           This order shall constitute the writ of habeas corpus needed to secure the appearance of

10    the inmate on the date and time indicated above.

11           The prosecutor shall notify the U.S. Marshal when the inmate can be returned to CNMI


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1   custody. A Federal law enforcement agent shall deliver the inmate back to the Commissioner of

2   the CNMI Department of Corrections, and/or any authorized agent thereof, as soon as the

3   inmate’s presence is no longer required so that the inmate may return to CNMI custody.

           SO ORDERED on                      ~1- ~OfS.


                                                RAMONAV’~NA
                                                Chief Judge, United ates District Court
                                                District of the Northern Mariana Islands




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